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           Peter Cianchetta - SBN 220971
           Cianchetta & Associates
           8788 Elk Grove Blvd., Suite 2A
           Elk Grove. CA 95624-1811
           Ph: 916-685-7878
           plc@eglaw.net
            Attorney for Debora Leigh Miller-Zuranich

                                        UNITED STATES BANKRUPTCY COURT

                                           EASTERN DISTRICT OF CALIFORNIA

             In Re:                                                Case No. 2019-21640
                                                                   Docket Control No.: PLC-01
             Debora Leigh Miller-Zuranich                          Hearing Date: NONE
                                                                   Hearing Time: NONE
                                                          Debtor

                                                                   The Honorable Christopher Jaime


                                        SUBSTITUTION OF ATTORNEY OF RECORD

           I, Debora Leigh Miller-Zuranich, the Debtor herein, hereby substitute as my attorney of record:

                         Peter Cianchetta - SBN 220971
                         Cianchetta & Associates
                         8788 Elk Grove Blvd., Suite 2A
                         Elk Grove, CA 95624-1811
                         Ph: 916-685-7878



           in the place and stead of:

           Pro Se
           Dated: May 24, 2019
                                                              Debora Leigh Milj^-Zuranich ^
           I consent to this substitution.

           Dated:
                                                              Pro Se
           I accept this substitution

           Dated:




       Substitution of Attorney
